UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,
                       Plaintiff,
                     - against -                                 MOTION TO SEAL

TERRY ALBURY,                                                     18-CR-67 (WMW)
                                    Defendant.



          Terry Albury, through his attorney, respectfully moves the Court for an order sealing the

letters at docket entries #43 and #46, as more fully set forth in the accompanying memorandum

of law.



Date: November 16, 2018                                Respectfully Submitted,

                                                           /s/

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